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               EXHIBIT 19
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                                                                  CHART 1
                                                            SUBSTANTIVE HOURS
Date        Person             Client            Activity        Description                                                      Duration Time Totals
  12-Oct-16 Emma Freudenberger Rosario (Richard) Meeting         Case status meeting w/ RS & AL                                       0:24         0.4
  3-Nov-16 Emma Freudenberger Rosario (Richard) Meeting          Meet w/ client, NB, RS, investigator                                 0:30         0.5
 15-Nov-16 Emma Freudenberger Rosario (Richard) Meeting          meeting with RR, team                                                1:00         1.0
 23-Nov-16 Emma Freudenberger Rosario (Richard) Meeting          meet re appeal and doc collection                                    0:18         0.3
   4-Dec-16 Emma Freudenberger Rosario (Richard) Review          reviewing police file                                                1:48         1.8
   5-Dec-16 Emma Freudenberger Rosario (Richard) Review          reading transcripts                                                  2:00         2.0
   6-Dec-16 Emma Freudenberger Rosario (Richard) Review          reading trail transcripts                                            3:30         3.5
                                                                 reviewing related robbery docs, reviewing richard's
   7-Dec-16 Emma Freudenberger Rosario (Richard) Review          statements                                                           2:24         2.4
   7-Dec-16 Emma Freudenberger Rosario (Richard) Phone Call      call with potential psych expert                                     0:36         0.6
   8-Dec-16 Emma Freudenberger Rosario (Richard) Meeting         meeting with richard                                                 4:00         4.0
 20-Dec-16 Emma Freudenberger Rosario (Richard) Phone Call       call with chip                                                       0:18         0.3
 22-Dec-16 Emma Freudenberger Rosario (Richard) Phone Call       team call                                                            0:36         0.6
  13-Jan-17 Emma Freudenberger Rosario (Richard) Draft           review NOCs and give edits to rick                                   1:18         1.3
  24-Jan-17 Emma Freudenberger Rosario (Richard) Meeting         team meeting                                                         0:12         0.2
  27-Jan-17 Emma Freudenberger Rosario (Richard) Meeting         team meet w/ investigator                                            0:24         0.4
   8-Feb-17 Emma Freudenberger Rosario (Richard) Meeting         investigation meeting                                                0:48         0.8
   6-Mar-17 Emma Freudenberger Rosario (Richard) Phone Call      call about robbery case                                              0:48         0.8

 16-Mar-17 Emma Freudenberger Rosario (Richard) phone call          Phone call w/ RS and co-counsel re: Richard's criminal case       0:24         0.4
 28-Mar-17 Emma Freudenberger Rosario (Richard) Meeting             meeting re 50h prep, call to richard                              0:36         0.6
 29-Mar-17 Emma Freudenberger Rosario (Richard) Prep                50 h prep                                                         4:00         4.0
 30-Mar-17 Emma Freudenberger Rosario (Richard) Prep                50 h prep                                                         2:12         2.2
 30-Mar-17 Emma Freudenberger Rosario (Richard) Meeting             meeting with patrick about witnesses                              1:42         1.7
  3-Apr-17 Emma Freudenberger Rosario (Richard) Phone Call          call w richard and RS                                             0:24         0.4
  3-Apr-17 Emma Freudenberger Rosario (Richard) Phone Call          calls with Richard, Chip                                          1:00         1.0
 10-Apr-17 Emma Freudenberger Rosario (Richard) Meeting             meeting w client and chip                                         3:00         3.0
                                                                    reviewi complaint, give rick edits (yesterday and today 6.7
 4-May-17 Emma Freudenberger Rosario (Richard) Review               hours)                                                            6:42         6.7
11-May-17 Emma Freudenberger Rosario (Richard) Prep                 prep                                                              2:36         2.6
25-May-17 Emma Freudenberger Rosario (Richard) Prep                 50 h prep                                                         4:30         4.5
26-May-17 Emma Freudenberger Rosario (Richard) Prep                 final 50 h prep                                                   2:00         2.0
30-May-17 Emma Freudenberger Rosario (Richard) Other                50 -h and pre-meeting w richard                                   9:00         9.0
  1-Jun-17 Emma Freudenberger Rosario (Richard) Meeting             Investigation meeting                                             2:00         2.0
 13-Jun-17 Emma Freudenberger Rosario (Richard) phone call          Phone call w/ RS, client re: case strategy                        0:12         0.2
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15-Aug-17 Emma Freudenberger Rosario (Richard) Phone Call       calls with Richard, Marty, follow up emails                   1:18   1.3
21-Dec-17 Emma Freudenberger Rosario (Richard) Review           complaint review                                              3:24   3.4
22-Dec-17 Emma Freudenberger Rosario (Richard) Draft            complaint review                                              2:30   2.5
16-Apr-18 Emma Freudenberger Rosario (Richard) Meeting          Case meeting                                                  0:18   0.3
  5-Jun-18 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS                                                    0:06   0.1
21-Aug-18 Emma Freudenberger Rosario (Richard) Meeting          case meeting                                                  0:30   0.5
  4-Sep-18 Emma Freudenberger Rosario (Richard) Discovery       reviewing 26 disclosures                                      0:48   0.8
  7-Sep-18 Emma Freudenberger Rosario (Richard) Meeting         meet re: case strategy                                        0:18   0.3
13-Sep-18 Emma Freudenberger Rosario (Richard) Phone Call       phone call w/ Chip and RS re: case strategy                   0:18   0.3
20-Sep-18 Emma Freudenberger Rosario (Richard) Phone Call       Phone call w/ opposing counsel                                0:06   0.1
 22-Oct-18 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS, ABH re: case strategy                             0:12   0.2
 26-Oct-18 Emma Freudenberger Rosario (Richard) Review          premotion conference letter review                            2:18   2.3
 5-Nov-18 Emma Freudenberger Rosario (Richard) Meeting          Meet w/ RS re: court hearing                                  0:18   0.3
                                                                meeti with rick before premotion conference, pre motion
 6-Nov-18 Emma Freudenberger Rosario (Richard) Court appearance conference                                                    3:30   3.5
 4-Dec-18 Emma Freudenberger Rosario (Richard) Meeting          meet re case strategy                                         0:24   0.4
14-Dec-18 Emma Freudenberger Rosario (Richard) Meeting          Meet w/ NB, EF, AF re: deposition scheduling                  0:18   0.3
17-Dec-18 Emma Freudenberger Rosario (Richard) Meeting          Meet re deps, discovery                                       0:30   0.5
18-Dec-18 Emma Freudenberger Rosario (Richard) Meeting          witness interview meeting                                     0:06   0.1
20-Dec-18 Emma Freudenberger Rosario (Richard) Meeting          Meet w/ RS re MTD                                             0:30   0.5
24-Dec-18 Emma Freudenberger Rosario (Richard) Miscellaneous    emails and calls re city dep position                         2:06   2.1
27-Dec-18 Emma Freudenberger Rosario (Richard) Miscellaneous    edits to discovery letter                                     2:18   2.3
28-Dec-18 Emma Freudenberger Rosario (Richard) Miscellaneous    editing and filing letter on deps                             5:12   5.2
  2-Jan-19 Emma Freudenberger Rosario (Richard) Meeting         Meeting   with Rick                                           0:24   0.4
  3-Jan-19 Emma Freudenberger Rosario (Richard) Meeting         case strategy, etc meeting                                    0:48   0.8
  7-Jan-19 Emma Freudenberger Rosario (Richard) Phone Call      witness call                                                  0:24   0.4
  8-Jan-19 Emma Freudenberger Rosario (Richard) Phone Call      Phone call w/ expert & RS                                     0:06   0.1
  8-Jan-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ NB, RS, AF re: dep scheduling.                        0:12   0.2
  9-Jan-19 Emma Freudenberger Rosario (Richard) Meeting         case meeting/team meeting                                     0:42   0.7
 15-Jan-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ NB, RS, LK, and AF re: deposition strategy            0:54   0.9
 23-Jan-19 Emma Freudenberger Rosario (Richard) Phone Call      Phone call w/ RS re: discovery responses                      0:30   0.5
 25-Jan-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS re: discovery response and demands                 0:18   0.3
 25-Jan-19 Emma Freudenberger Rosario (Richard) Meeting         Meeting w/ NB,RS, LK, AF re: case strategy and deps           0:24   0.4
 29-Jan-19 Emma Freudenberger Rosario (Richard) Deposition      attendign  sanchez dep, meetings during sanchez dep           1:48   1.8
 30-Jan-19 Emma Freudenberger Rosario (Richard) Deposition      davis dep                                                     3:00   3.0
 30-Jan-19 Emma Freudenberger Rosario (Richard) Meeting         Team meeting w/ NB, RS, LK, AF re: deposition                 0:12   0.2

 7-Feb-19 Emma Freudenberger Rosario (Richard) Meeting             Meet w/ NB, RS, LK, AF re: case strategy and depositions   0:36   0.6
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 8-Feb-19 Emma Freudenberger Rosario (Richard) Prep            Chip dep prep                                                0:24   0.4
13-Feb-19 Emma Freudenberger Rosario (Richard) Phone Call      Phone call w/ RS re: Chip dep                                0:24   0.4
14-Feb-19 Emma Freudenberger Rosario (Richard) Deposition      Chip deposition                                              5:12   5.2
                                                               Edits to letter motion for more deps, call with nick about
15-Feb-19 Emma Freudenberger Rosario (Richard) Draft           letter motion                                                1:36   1.6
19-Feb-19 Emma Freudenberger Rosario (Richard) Draft           finalizing letter motion                                     1:00   1.0
20-Feb-19 Emma Freudenberger Rosario (Richard) Draft           Edits to letter motion for conference                        2:42   2.7
 1-Mar-19 Emma Freudenberger Rosario (Richard) Phone Call      call with rick                                               0:30   0.5
12-Mar-19 Emma Freudenberger Rosario (Richard) Draft           reviewing joint status letter                                0:42   0.7
13-Mar-19 Emma Freudenberger Rosario (Richard) Meeting         slepian meeting                                              4:00   4.0
19-Mar-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS, LK, NB re: case strategy, depositions            1:12   1.2
20-Mar-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS re: discovery responses                           0:12   0.2
21-Mar-19 Emma Freudenberger Rosario (Richard) Phone Call      Phone call w/ Rick and Chip                                  0:18   0.3
29-Mar-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS re: discovery responses                           0:18   0.3
                                                               Meet w/ RS, NB, LK, AF re: discovery, case strategy,
29-Mar-19 Emma Freudenberger Rosario (Richard) Meeting         experts                                                      0:30   0.5
 1-Apr-19 Emma Freudenberger Rosario (Richard) Meeting         Meet re: discovery responses                                 0:42   0.7
 3-Apr-19 Emma Freudenberger Rosario (Richard) Meeting         Meet re: request to admit responses                          0:24   0.4
 9-Apr-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS re: discovery                                     0:48   0.8
10-Apr-19 Emma Freudenberger Rosario (Richard) Meeting         Meeting w/ RS, AF re: discovery                              0:24   0.4
                                                               Meeting re: document production, psych expert report,
 12-Apr-19 Emma Freudenberger Rosario (Richard) Meeting        requests to admit                                            1:12   1.2
 18-Apr-19 Emma Freudenberger Rosario (Richard) Meeting        Meet w/ RS re: discovery                                     0:18   0.3
 23-Apr-19 Emma Freudenberger Rosario (Richard) Meeting        Meet w/ RS re: expert                                        0:06   0.1
 25-Apr-19 Emma Freudenberger Rosario (Richard) Meeting        Meet w/ RS re: expert report                                 0:18   0.3
 29-Apr-19 Emma Freudenberger Rosario (Richard) Meeting        Meet w/ RS, NB re: discovery                                 0:18   0.3
 30-Apr-19 Emma Freudenberger Rosario (Richard) Meeting        Meet w/ RS re: discovery dispute                             0:24   0.4
 1-May-19 Emma Freudenberger Rosario (Richard) Meeting         Meet re: discovery                                           0:36   0.6
 3-May-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS re: Joyce Hartsfield                              0:18   0.3
 6-May-19 Emma Freudenberger Rosario (Richard) Meeting         Discuss Hartsfield dep w/ Rick                               0:18   0.3
 7-May-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS, NB, AF re: expert report revisions               0:30   0.5
 8-May-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/RS & NB re: expert report                             0:48   0.8
10-May-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS re: discovery letter                              0:12   0.2
                                                               responding to counsel on outstanding discovery issues,
16-May-19 Emma Freudenberger Rosario (Richard) Miscellaneous   speaking to chip re deposition                               1:18   1.3
17-May-19 Emma Freudenberger Rosario (Richard) Phone Call      call with Chip re dep prep                                   0:30   0.5
17-May-19 Emma Freudenberger Rosario (Richard) Miscellaneous   email to opposing counsel                                    0:18   0.3
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                                                                    meet and confer with opposing counsel, discussing
20-May-19 Emma Freudenberger Rosario (Richard) Miscellaneous        contention ROG responses                                         0:54   0.9
                                                                    reviewing Cruger with Len, meeting with Rick about ROG
21-May-19 Emma Freudenberger Rosario (Richard) Miscellaneous        draft, scheduling Chip's deposition                              1:24   1.4
                                                                    reviewing rosario privilege log, emails re chips dep,
22-May-19 Emma Freudenberger Rosario (Richard) Miscellaneous        discussion with rick about discovery loose ends                  0:30   0.5

                                                                    editing rosario letters, editing contention rogs, feedback on
22-May-19 Emma Freudenberger Rosario (Richard) Miscellaneous        contention rogs, strategy discussions re rogs and ocurt orders   7:00   7.0
23-May-19 Emma Freudenberger Rosario (Richard) Miscellaneous        reviewing filings, RTAs, discussing robbery vacatur              0:48   0.8
                                                                    supervising alexis gonzalez dep while nick in meeting,
 3-Jun-19 Emma Freudenberger Rosario (Richard) Miscellaneous        follow-up conversation with rick and len about proof             2:42   2.7
26-Jun-19 Emma Freudenberger Rosario (Richard) Phone Call           Phone call w/ RS, AF & Chip re: case                             0:54   0.9
 9-Jul-19 Emma Freudenberger Rosario (Richard) Meeting              Meet re: Ds proposed IME                                         0:12   0.2
                                                                    reviewing psych motion practice, discussing response with
 16-Jul-19 Emma Freudenberger Rosario (Richard) Review              rick, reviewing expert reports                                   1:18   1.3

 22-Jul-19 Emma Freudenberger Rosario (Richard) Meeting         meeting with rick and nick to discuss ichard instagram issues        0:18   0.3
                                                                call to brachah about social media, follow up conversation
  23-Jul-19 Emma Freudenberger Rosario (Richard) Phone Call     with rick                                                            0:30   0.5
  3-Sep-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ NB, RS re: experts, discovery                                0:18   0.3
  6-Sep-19 Emma Freudenberger Rosario (Richard) Phone Call      Phone call w/ expert Dysart, NB, RS, LK                              0:48   0.8
  9-Sep-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS & NB re: expert deps                                      0:12   0.2
11-Sep-19 Emma Freudenberger Rosario (Richard) Meeting          Meet w/ RS, NB re discovery letter                                   0:24   0.4
15-Sep-19 Emma Freudenberger Rosario (Richard) Review           reading, editing reply on expert deps                                0:42   0.7
                                                                meeting with nick and rick about expert issues, reviewing
16-Sep-19 Emma Freudenberger Rosario (Richard) Miscellaneous    correspondance and reports                                           1:18   1.3
 10-Oct-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS & LK re: expert                                           0:12   0.2
 15-Oct-19 Emma Freudenberger Rosario (Richard) Review          Discuss w/ LK and RS disclosure of expert discovery                  0:12   0.2
 16-Oct-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS to discuss Dysart dep                                     0:06   0.1
 30-Oct-19 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ RS, ABH re: SJ letter                                        0:18   0.3
 4-Nov-19 Emma Freudenberger Rosario (Richard) Draft            edits to premotion letter                                            0:48   0.8
 5-Nov-19 Emma Freudenberger Rosario (Richard) Phone Call       Phone call w/ NB & RS re: SJ letter                                  0:12   0.2
 7-Nov-19 Emma Freudenberger Rosario (Richard) Meeting          Meet w/ RS & BR re: Rosario SJ                                       0:24   0.4
11-Nov-19 Emma Freudenberger Rosario (Richard) Prep             premotion conference prep                                            2:30   2.5
                                                                rosario pre motion conference, discussing with nick ahead of
12-Nov-19 Emma Freudenberger Rosario (Richard) Court appearance time                                                                 0:48   0.8
18-Dec-19 Emma Freudenberger Rosario (Richard) Meeting          Rosario sj meeting                                                   0:30   0.5
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13-Jan-20 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ NB, ABH, RS, AS, AF, BR re: MSJ response                  0:54   0.9
16-Jan-20 Emma Freudenberger Rosario (Richard) Miscellaneous   team meeting, follow up conversations with nick and rick          2:24   2.4
24-Jan-20 Emma Freudenberger Rosario (Richard) Meeting         Discuss motion to dismiss w/ RS                                   0:06   0.1
10-Feb-20 Emma Freudenberger Rosario (Richard) Meeting         Meet w/ NB, RS, ABH, AS, BR re: MSJ Opp                           1:36   1.6
18-Feb-20 Emma Freudenberger Rosario (Richard) Review          reading sj briefs, meeting                                        3:42   3.7
19-Feb-20 Emma Freudenberger Rosario (Richard) Review          final sj review, feedback                                         2:24   2.4
21-Feb-20 Emma Freudenberger Rosario (Richard) Miscellaneous   sending sj to richard and chip                                    0:24   0.4
16-Apr-20 Emma Freudenberger Rosario (Richard) Phone Call      Phone call w/ RS & ABH re: SJ reply                               0:18   0.3
17-Apr-20 Emma Freudenberger Rosario (Richard) Miscellaneous   talk to anna, rick re: response to brachah                        0:24   0.4
21-Jan-21 Emma Freudenberger Rosario (Richard) Phone Call      talk to anna/emma re: daubert plan                                0:24   0.4
22-Jan-21 Emma Freudenberger Rosario (Richard) Phone Call      W/ nick, anna, katie haas, kayla, talk to chip re: Strategy       0:30   0.5

22-Jan-21 Emma Freudenberger Rosario (Richard) Phone Call      Call with Nick, Katie H, Anna and Rick re Daubert motions         0:18   0.3
 5-Feb-21 Emma Freudenberger Rosario (Richard) Phone Call      W/ anna, talk to bettina re: Pretrial schedule                    0:30   0.5
10-Feb-21 Emma Freudenberger Rosario (Richard) Phone Call      Rosario call and follow up emails                                 0:30   0.5
18-Feb-21 Emma Freudenberger Rosario (Richard) Phone Call      Pretrial planning call w/ NB, ABH, BR, KH, KJ.                    1:00   1.0
22-Feb-21 Emma Freudenberger Rosario (Richard) Phone Call      Call with Katie H and Kayla re trial prep                         0:30   0.5
                                                               w/ anna and nick discuss prep for status conference re: trial
24-Feb-21 Emma Freudenberger Rosario (Richard) Phone Call      procedure                                                         0:24   0.4
                                                               w/ anna and bettina, then just anna discuss pretrial briefing
 1-Mar-21 Emma Freudenberger Rosario (Richard) Meeting         requirement, plan                                                 0:42   0.7
 9-Mar-21 Emma Freudenberger Rosario (Richard) Meeting         Meetings re Daubert                                               1:06   1.1
12-Mar-21 Emma Freudenberger Rosario (Richard) Phone Call      Team call on MILs                                                 0:42   0.7
18-Mar-21 Emma Freudenberger Rosario (Richard) Miscellaneous   Calls emails                                                      1:30   1.5
                                                               W/ anna, katie h, kayla talk to brachah re: MILs, pretrial
23-Mar-21 Emma Freudenberger Rosario (Richard) Phone Call      filings                                                           0:42   0.7
25-Mar-21 Emma Freudenberger Rosario (Richard) Phone Call      Call with Katie H and potential damages witness                   0:30   0.5
 8-Apr-21 Emma Freudenberger Rosario (Richard) Meeting         Meeting with Katie H and Kayla                                    0:30   0.5
 9-Apr-21 Emma Freudenberger Rosario (Richard) Phone Call      W/ nick, anna, katie h discuss draft jury instructions            0:42   0.7
16-Apr-21 Emma Freudenberger Rosario (Richard) Phone Call      W/ anna, talk to katie h re: MILs                                 0:48   0.8
                                                               w/ nick, anna, katie h, yasmin, jahne, kayla discuss draft jury
 19-Apr-21 Emma Freudenberger Rosario (Richard) Meeting        questionnaire                                                     1:30   1.5
18-May-21 Emma Freudenberger Rosario (Richard) Meeting         Mtg with Anna and Katie H re deadlines and priorities             0:30   0.5
24-May-21 Emma Freudenberger Rosario (Richard) Miscellaneous   Reading brief, call with chip et al                               0:48   0.8
27-May-21 Emma Freudenberger Rosario (Richard) Phone Call      Call with Katie H and opposing counsel                            0:12   0.2
 10-Jun-21 Emma Freudenberger Rosario (Richard) Phone Call     Discuss MIL plan w/ nick, anna, katie h, kayla                    0:42   0.7
 10-Jun-21 Emma Freudenberger Rosario (Richard) Phone Call     Call with Kayla re Minerva's digest.                              0:12   0.2
 21-Jun-21 Emma Freudenberger Rosario (Richard) Meeting        W/ nick, anna, katie h, christina, kayla discuss MIL opp          0:48   0.8
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22-Jun-21 Emma Freudenberger Rosario (Richard) Meeting         Talk to nick, anna re: MILs                                     0:24   0.4
23-Jun-21 Emma Freudenberger Rosario (Richard) Meeting         Talk to anna, katie h. Re; MIL responses                        0:12   0.2

25-Jun-21 Emma Freudenberger Rosario (Richard) Meeting         W/ anna, christina, katie h, bianca, rhianna discuss MIL opp    0:42   0.7
30-Jun-21 Emma Freudenberger Rosario (Richard) Draft           Met w/ Rhianna about draft response to MIL.                     0:25   0.5
 6-Jul-21 Emma Freudenberger Rosario (Richard) Phone Call      Call with Katie H and Kayla re stipulations                     0:09   0.2

  7-Jul-21 Emma Freudenberger Rosario (Richard) Meeting        W/ anna, katie h discuss MIL re: Vacated robbery conviction     0:12   0.2
 12-Jul-21 Emma Freudenberger Rosario (Richard) Phone Call     Talk to nick, anna, re: MIL strategy                            0:12   0.2
 13-Jul-21 Emma Freudenberger Rosario (Richard) Meeting        W/ nick, anna discuss edits to MIL opposition                   0:30   0.5
 19-Jul-21 Emma Freudenberger Rosario (Richard) Phone Call     W/ anna, katie h discuss plan for pretrial briefing             0:12   0.2
 19-Jul-21 Emma Freudenberger Rosario (Richard) Phone Call     Call with Kayla, Katie H, and Carlos Malonado.                  1:00   1.0
25-Aug-21 Emma Freudenberger Rosario (Richard) Phone Call      W/ anna, katie h discuss pretrial filings                       0:30   0.5
30-Aug-21 Emma Freudenberger Rosario (Richard) Prep            Reading transcripts and designations                            3:24   3.4
 1-Sep-21 Emma Freudenberger Rosario (Richard) Miscellaneous   Team meeting, prep for team meeting                             1:42   1.7
 3-Sep-21 Emma Freudenberger Rosario (Richard) Phone Call      Calls to witnesses, call with nick                              0:54   0.9
                                                               Call with intern and katie about silverman motion, reviewing
 3-Sep-21 Emma Freudenberger Rosario (Richard) Phone Call      notes from initial assignment                                   0:30   0.5
 6-Sep-21 Emma Freudenberger Rosario (Richard) Prep            Reviewing docs for exhibit list, designations                   4:00   4.0
 7-Sep-21 Emma Freudenberger Rosario (Richard) Prep            Exhibit/trial prep meeting with nick and katie                  2:18   2.3
 7-Sep-21 Emma Freudenberger Rosario (Richard) Review          Reviewing damages exhibits                                      0:48   0.8
 8-Sep-21 Emma Freudenberger Rosario (Richard) Prep            Stipulations and JPTO drafts                                    3:30   3.5
 8-Sep-21 Emma Freudenberger Rosario (Richard) Prep            Dep designations                                                1:18   1.3
10-Sep-21 Emma Freudenberger Rosario (Richard) Phone Call      calls with Katie H re JPTO                                      0:12   0.2
12-Sep-21 Emma Freudenberger Rosario (Richard) Miscellaneous   Trial prep work, JPTO, witness review                           5:00   5.0
13-Sep-21 Emma Freudenberger Rosario (Richard) Miscellaneous   JPTO edits                                                      5:00   5.0
15-Sep-21 Emma Freudenberger Rosario (Richard) Prep            Pretrial tasks                                                  1:00   1.0
                                                               Email to brachah re JPTO, call with KAtie about jury
                                                               questionnaire motion, call with Anna and Nick about verdict
                                                               sheet, correspondance with kayla about exhibits, call with
16-Sep-21 Emma Freudenberger Rosario (Richard) Miscellaneous   Nick about trial date                                           3:00   3.0
                                                               reviewing jury questionnaire motion, call with nick, edits to
17-Sep-21 Emma Freudenberger Rosario (Richard) Miscellaneous   katie                                                           1:30   1.5
23-Sep-21 Emma Freudenberger Rosario (Richard) Miscellaneous   trial prep, revieiwng letter                                    0:30   0.5
                                                               reviewing serrano transcript and video, call to serrano,
26-Sep-21 Emma Freudenberger Rosario (Richard) Miscellaneous   emails to nick                                                  2:30   2.5
28-Sep-21 Emma Freudenberger Rosario (Richard) Miscellaneous   meeting with jury consultants, pretrial order doc review        3:24   3.4
28-Sep-21 Emma Freudenberger Rosario (Richard) Prep            meeting on voir dire                                            1:00   1.0
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29-Sep-21 Emma Freudenberger Rosario (Richard) Prep                 conviction designations for trial, reivewing letters, photos        4:42   4.7
30-Sep-21 Emma Freudenberger Rosario (Richard) Review               reviewing filings, reviewing JPTO, trial prep                       5:00   5.0
 5-Oct-21 Emma Freudenberger Rosario (Richard) Review               reviewing pretrial docs                                             3:30   3.5
                                                                    rosario jury instructions and miscellaneous pretrial orderr
 5-Oct-21 Emma Freudenberger Rosario (Richard) Miscellaneous        questions                                                           2:30   2.5
 6-Oct-21 Emma Freudenberger Rosario (Richard) Phone Call           pretrial call                                                       1:00   1.0
                                                                    reviewing pretrial docs and filings, emails with opposing
 7-Oct-21 Emma Freudenberger Rosario (Richard) Miscellaneous        counsel, meetings with katie about same                             4:00   4.0
 7-Oct-21 Emma Freudenberger Rosario (Richard) Phone Call           call with richard, email with chips                                 0:24   0.4
                                                                    follow up calls to witnesses, call with patrick, call with nick,
20-Oct-21 Emma Freudenberger Rosario (Richard) Miscellaneous        katie re letter                                                     1:00   1.0
22-Oct-21 Emma Freudenberger Rosario (Richard) Miscellaneous        materials to Patrick, call with Adam Bloom                          0:48   0.8
26-Oct-21 Emma Freudenberger Rosario (Richard) Phone Call           Call with Adam Bloom, Kayla, Nick, and Katie H.                     0:18   0.3
                                                                    Calls to witnesses, calls with patrick, call with chip, call with
 27-Oct-21 Emma Freudenberger Rosario (Richard) Prep                richard, meeting w nick                                             2:30   2.5
24-Nov-21 Emma Freudenberger Rosario (Richard) Miscellaneous        call with brachah, meeting with nick about trial                    0:48   0.8
  2-Dec-21 Emma Freudenberger Rosario (Richard) Phone Call          team call, dep and police file review                               3:00   3.0
                                                                    conference, trial prep meeting, prep for team meeting,
 6-Dec-21 Emma Freudenberger Rosario (Richard) Miscellaneous        reviewing pretrial docs                                             5:00   5.0

 7-Dec-21 Emma Freudenberger Rosario (Richard) Prep             exhibit meeting, reviewing police docs, substantive trial prep          4:42   4.7
 8-Dec-21 Emma Freudenberger Rosario (Richard) Miscellaneous    trial prep                                                              2:12   2.2
 9-Dec-21 Emma Freudenberger Rosario (Richard) Miscellaneous    team meeting, reviewing alibi deps                                      4:18   4.3
10-Dec-21 Emma Freudenberger Rosario (Richard) Prep             calls with katie re exhibits, exhibit review, trial prep                5:00   5.0
11-Dec-21 Emma Freudenberger Rosario (Richard) Miscellaneous    trial prep                                                              4:42   4.7
12-Dec-21 Emma Freudenberger Rosario (Richard) Prep             trial prep                                                              3:30   3.5
13-Dec-21 Emma Freudenberger Rosario (Richard) Prep             trial prep                                                              2:48   2.8
                                                                prep for pretrial conference, josh re jury roll list research,
15-Dec-21 Emma Freudenberger Rosario (Richard) Prep             team meetings and witness calls, trial prep                             6:48   6.8
                                                                prep for pretrial conference, pretrial conference, check-in re
16-Dec-21 Emma Freudenberger Rosario (Richard) Court appearance rulings on exhibits post-conference                                     3:00   3.0
17-Dec-21 Emma Freudenberger Rosario (Richard) Prep             meeting re trial assignments, trial prep                                5:24   5.4
18-Dec-21 Emma Freudenberger Rosario (Richard) Prep             Sanchez digest, prep, reviewing Cruger, opening                         5:30   5.5
19-Dec-21 Emma Freudenberger Rosario (Richard) Prep             opening, trial prep                                                     5:12   5.2
                                                                pretrial submission review, trial prep incl witness outreach &
20-Dec-21 Emma Freudenberger Rosario (Richard) Prep             outlines, opening                                                       4:18   4.3
21-Dec-21 Emma Freudenberger Rosario (Richard) Prep             prep for PTC, PTC, follow up meeting, trial prep                        6:18   6.3
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                                                                       trial prep including dysart outline, letters, juror issues,
22-Dec-21 Emma Freudenberger Rosario (Richard) Prep                    outline review, opening, meet and confer and prep/follow-up    10:12   10.2
23-Dec-21 Emma Freudenberger Rosario (Richard) Miscellaneous           letter review/revisions, call with Brachah                      1:48    1.8
24-Dec-21 Emma Freudenberger Rosario (Richard) Prep                    letter review, trial prep                                       2:42    2.7

                                                                 Martinez outline, opening, reviewing admissions, reviewing
27-Dec-21 Emma Freudenberger Rosario (Richard) Prep              dep video, communications with witnesses, general trial prep          9:00    9.0
                                                                 trial logistics/binders call, exhibit meeting, Alexis gonzalez
28-Dec-21 Emma Freudenberger Rosario (Richard) Prep              letter, Petrauskas outline, misc trial prep, opening work             8:48    8.8
                                                                 call with dysart, dysart outline, reviewing draft re vacatur
                                                                 letter, opening edits, misc exhibit trial prep questions and
29-Dec-21 Emma Freudenberger Rosario (Richard) Prep              review, whitaker review                                               9:00    9.0
                                                                 revising fernando letter, witness order, opening edits, dysart,
30-Dec-21 Emma Freudenberger Rosario (Richard) Prep              revieiwng outline drafts                                              8:42    8.7
31-Dec-21 Emma Freudenberger Rosario (Richard) Prep              opening edits, trial prep, witness calls                              3:30    3.5
  3-Jan-22 Emma Freudenberger Rosario (Richard) Phone Call       call with nick, call with nick and anna, updating to do list          0:42    0.7
                                                                 cal w/ nick, Anna, katie h, gerardo, kayla, cam to discuss
  4-Jan-22 Emma Freudenberger Rosario (Richard) Phone Call       next steps                                                            0:30    0.5
  5-Jan-22 Emma Freudenberger Rosario (Richard) Phone Call       call w/ nick, Anna, Katie h, Gerardo re trial date                    0:24    0.4
  5-Jan-22 Emma Freudenberger Rosario (Richard) Phone Call       call w katie re direct examination outline                            0:24    0.4
                                                                 calls with nick, amelia, anna, katie H re trial date, email to
  7-Jan-22 Emma Freudenberger Rosario (Richard) Prep             team                                                                  1:24    1.4
  8-Jan-22 Emma Freudenberger Rosario (Richard) Prep             opening, petrauskas digest                                            4:30    4.5
  9-Jan-22 Emma Freudenberger Rosario (Richard) Prep             Editing opening, practicing opening, petrauskas outline               6:18    6.3
                                                                 team call, editing opening, meeting on exhibits, martinez
                                                                 edits, call with Dysart, call with Katie, editing letter to court,
 10-Jan-22 Emma Freudenberger Rosario (Richard) Miscellaneous    calls to witnesses                                                    5:18    5.3
                                                                 outlines, team calls on exhibits and demonstratives, calls
 11-Jan-22 Emma Freudenberger Rosario (Richard) Prep             with Nick about Davis                                                 4:18    4.3
                                                                 prep for conference, conference, meeting to prep for
 12-Jan-22 Emma Freudenberger Rosario (Richard) Prep             conference, calls to witnesses                                        5:00    5.0
                                                                 response to adjournment request, call with Hannah Faddis,
 13-Jan-22 Emma Freudenberger Rosario (Richard) Miscellaneous    call with Nick, drafting letter                                       2:18    2.3
 14-Jan-22 Emma Freudenberger Rosario (Richard) Court appearance Telephonic conference with court                                      0:30    0.5
10-Feb-22 Emma Freudenberger Rosario (Richard) Review            reviewing 56.1 drafts                                                 1:30    1.5
27-Apr-22 Emma Freudenberger Rosario (Richard) Meeting           meet and confer re jury instructions                                  0:19    0.3
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                                                                  talk to anna, then w/ anna to katie re: filing on limiting
 29-Apr-22 Emma Freudenberger Rosario (Richard) Meeting           instructions                                                       0:18   0.3
 5-May-22 Emma Freudenberger Rosario (Richard) Meeting            Meeting with Cam and Katie H                                       0:45   0.8
 6-May-22 Emma Freudenberger Rosario (Richard) Meeting            Meeting with Cam and Katie H                                       0:30   0.5
10-May-22 Emma Freudenberger Rosario (Richard) Meeting            team meeting re: trial plan                                        1:06   1.1
13-May-22 Emma Freudenberger Rosario (Richard) Phone Call         Calls with Katie                                                   0:09   0.2
25-May-22 Emma Freudenberger Rosario (Richard) Court appearance   status conference, follow up call with nick                        0:54   0.9
                                                                  reviewing courts orders, meeting with katie, reviewing
27-May-22 Emma Freudenberger Rosario (Richard) Miscellaneous      qeustionnaire                                                      1:00   1.0
31-May-22 Emma Freudenberger Rosario (Richard) Meeting            W/ anna, gerardo discuss jury questionnaire                        0:18   0.3
  3-Jun-22 Emma Freudenberger Rosario (Richard) Phone Call        Calls with Katie re joint letter                                   0:30   0.5
                                                                  W/ katie h, Anna discuss response to letter re: Robbery
  6-Jun-22 Emma Freudenberger Rosario (Richard) Meeting           investigation                                                      0:12   0.2
                                                                  opening for firm, post-opening feedback meeting, follow up
14-Jun-22 Emma Freudenberger Rosario (Richard) Prep               with staff for feedback on opening                                 4:00   4.0
15-Jun-22 Emma Freudenberger Rosario (Richard) Prep               opening revisions                                                  2:24   2.4
16-Jun-22 Emma Freudenberger Rosario (Richard) Meeting            meet and confer gerardo katie cam opp counsel                      0:15   0.3
16-Jun-22 Emma Freudenberger Rosario (Richard) Meeting            onboarding new team members                                        0:30   0.5
 5-Jul-22 Emma Freudenberger Rosario (Richard) Miscellaneous      team meeting, follow up with katie and cam re subpoenas            1:42   1.7
                                                                  prep for team meeting, team meeting, exhibit review, police
  6-Jul-22 Emma Freudenberger Rosario (Richard) Miscellaneous     file review                                                        2:30   2.5
                                                                  trial prep, incl meeting with Katie re rulings, witness follow
  7-Jul-22 Emma Freudenberger Rosario (Richard) Prep              up, substantive prep                                               5:18   5.3
  8-Jul-22 Emma Freudenberger Rosario (Richard) Prep              trial prep                                                         4:18   4.3
                                                                  calls w nick and richard, call w jenine torres, call w john
  9-Jul-22 Emma Freudenberger Rosario (Richard) Miscellaneous     torres                                                             2:30   2.5
 10-Jul-22 Emma Freudenberger Rosario (Richard) Prep              dysart outline, calls w nick re richard, call w richard            4:30   4.5
                                                                  call with dysart, opening editing, meeting on opening with
                                                                  nick and anna, meeting with cam about logistics, supplies,
                                                                  exhibits, opening revisions, call with kate about richard, calls
                                                                  with nick about richard, opening, witnesses, calls to alibi
 11-Jul-22 Emma Freudenberger Rosario (Richard) Prep              witnesses, NT                                                      9:12   9.2
                                                                  revieiwing davis, dysart and torres outlines, call w chenoa,
 12-Jul-22 Emma Freudenberger Rosario (Richard) Prep              general trial prep tasks, call w katie, team meeting               9:00   9.0
                                                                  trial prep, dysart, torres outlines, opening, para supervision,
 13-Jul-22 Emma Freudenberger Rosario (Richard) Prep              calls w nick re vacatur, silverman, etc.                           9:30   9.5
                                                                  trial prep, dysart outline, torres, reviewing designations,
 14-Jul-22 Emma Freudenberger Rosario (Richard) Prep              meeting w gerardo, meeting w anna                                  8:18   8.3
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                                                               prep for prep with chip, prep with chip, call with renato,
15-Jul-22 Emma Freudenberger Rosario (Richard) Prep            follow up work re voir dire prep                                  4:30    4.5
16-Jul-22 Emma Freudenberger Rosario (Richard) Prep            revising opening, reviewing Whitaker, Dysart outline              6:42    6.7
17-Jul-22 Emma Freudenberger Rosario (Richard) Prep            trial prep, opening, outlines, calls with associates, nick        7:30    7.5
                                                               meet and confer re texts, team meeting, prep with dysart,
18-Jul-22 Emma Freudenberger Rosario (Richard) Miscellaneous   reviewing Nick outlines, opening edits, alibi witness outlines    9:00    9.0
                                                               opening edits and practice, prep for pretrial conference,
                                                               pretrial conference, jury questionnaire review, meeting with
19-Jul-22 Emma Freudenberger Rosario (Richard) Miscellaneous   nick, phone calls                                                 7:36    7.6
                                                               Dysart prep, prep for Dysart prep, meeting on exhibits,
20-Jul-22 Emma Freudenberger Rosario (Richard) Prep            reviewing exhibits and binders, martinez review                   8:24    8.4
                                                               opening, press, team calls & meetings, dysart outline edits,
21-Jul-22 Emma Freudenberger Rosario (Richard) Prep            alibi outlines                                                    9:48    9.8
                                                               prep with dysart, opening revisions, tech walkthrough, team
22-Jul-22 Emma Freudenberger Rosario (Richard) Prep            meeting, martinez/whitaker outline, witness calls                10:02   10.0
                                                               dysart prep, revising opening, meeting with nick, supervising
23-Jul-22 Emma Freudenberger Rosario (Richard) Miscellaneous   filings, team calls                                               9:00    9.0
                                                               jury selection meeting, rehearsing opening, prep with jen,
24-Jul-22 Emma Freudenberger Rosario (Richard) Miscellaneous   prep team meetings, designation meetings                         13:00   13.0
                                                               jury selection, openings, practicing opening, post trial
                                                               meeting, prepping chenoa, call with dysart, silverman
25-Jul-22 Emma Freudenberger Rosario (Richard) Prep            designation meeting                                              11:30   11.5
26-Jul-22 Emma Freudenberger Rosario (Richard) Miscellaneous   pretrial meetings, trial, post trial meeting                     10:18   10.3
                                                               team meetings, maritnez prep, torres prep, calls with jerry,
27-Jul-22 Emma Freudenberger Rosario (Richard) Prep            call with minerva                                                10:18   10.3
                                                               team meetings, martinz prep, nitcole torres strategy, john
28-Jul-22 Emma Freudenberger Rosario (Richard) Prep            torres videos                                                     8:30    8.5
                                                               meeting with richard, meeting with kate, team meeting,
                                                               exhibit meeting, martinez prep, reviewing filings, reviewing
29-Jul-22 Emma Freudenberger Rosario (Richard) Prep            cruger, etc.                                                     11:48   11.8
                                                               martinez prep, meeting about whitaker and cruger, reviewing
                                                               whitaker and cruger, reviewing john and jenine prior
                                                               statements and outlines, revising cop outlines, meeting re
                                                               richard, reviewing and strategizing re lymari rulings, sanchez
30-Jul-22 Emma Freudenberger Rosario (Richard) Prep            strategy mtg                                                     11:00   11.0
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                                                                  meeting with richard, Nicole Torres prep, NT outline review,
                                                                  zoom with John and Janine, John and Janine outline work,
                                                                  team check in, answering questions re exhibits, etc., call with
 31-Jul-22 Emma Freudenberger Rosario (Richard) Prep              opposing counsel                                                     11:42    11.7
                                                                  trial, meeting with John and Jenine, prep for John and Jenine
 1-Aug-22 Emma Freudenberger Rosario (Richard) Court appearance   meeting, edits to John and Jenine outlines                           12:18    12.3
 2-Aug-22 Emma Freudenberger Rosario (Richard) Miscellaneous      trial, prep, team meetings                                           10:30    10.5
 3-Aug-22 Emma Freudenberger Rosario (Richard) Court appearance   trial, martinez and chip prep                                        15:30    15.5
 4-Aug-22 Emma Freudenberger Rosario (Richard) Court appearance   martinez prep, trial, post-trial meeting                             11:30    11.5
                                                                  petrauskas outline, chip outline, team meetings, letter re
 5-Aug-22 Emma Freudenberger Rosario (Richard) Prep               petrauskas                                                            8:12     8.2
                                                                  Richard prep, Chip prep, petrauskas prep, tx review for
 6-Aug-22 Emma Freudenberger Rosario (Richard) Prep               closing                                                               7:12     7.2
                                                                  pre w richard, prep w chip, petrauskas prep, meetings re
 7-Aug-22 Emma Freudenberger Rosario (Richard) Prep               exhibits, testimony before resting, closing                           9:00     9.0
 8-Aug-22 Emma Freudenberger Rosario (Richard) Court appearance   trial, pretrial prep, closing work, petrauskas prep                  14:00    14.0
 9-Aug-22 Emma Freudenberger Rosario (Richard) Court appearance   trial, petrauskas morning prep, closing                              15:30    15.5
                                                                  drafting rebuttal section pre-court, closings, court appearance
                                                                  re City motions, ROGs, transcript review for jury note,
10-Aug-22 Emma Freudenberger Rosario (Richard) Miscellaneous      meeting with richard after court                                      8:48     8.8
                                                                  calls with richard and chip, nick, re deliberations, transcript
11-Aug-22 Emma Freudenberger Rosario (Richard) Court appearance   review for note, appearance for jury verdict                          3:12     3.2

                                                                                                                                    Total      759.3
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                                                                    CHART 2
                                                              FEE PETITION HOURS
Date        Person               Client            Activity        Description                                                Duration Time Totals
 22-Aug-22 Emma Freudenberger    Rosario (Richard) Phone Call      talk to anna re: fee petition                                    0:12         0.2
 23-Aug-22 Emma Freudenberger    Rosario (Richard) Phone Call      Call with Sona, Anna, Cam re fee petition                        0:30         0.5
 25-Aug-22 Emma Freudenberger    Rosario (Richard) Phone Call      W/ nick, anna, chip talk to richard re: Next steps               0:24         0.4
 26-Aug-22 Emma Freudenberger    Rosario (Richard) Phone Call      Call re: Fee petition w/ anna, cam, sara                         0:18         0.3
 23-Sep-22 Emma Freudenberger    Rosario (Richard) Miscellaneous   meeting re fee petition                                          0:30         0.5
 30-Sep-22 Emma Freudenberger    Rosario (Richard) Miscellaneous   reviewing Madhuri's research, meeting re fee application         1:00           1
   2-Oct-22 Emma Freudenberger   Rosario (Richard) Miscellaneous   reviewing emails                                                 0:24         0.4
   5-Oct-22 Emma Freudenberger   Rosario (Richard) Miscellaneous   reviewing declaration and brief                                  1:30         1.5
   6-Oct-22 Emma Freudenberger   Rosario (Richard) Miscellaneous   answering questions re declarations                              0:24         0.4

                                                                                                                              Total              5.2
